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Ullited States DiStl‘iCt COlll't 95 my l t pp 2; 55
for
Western District of Tennessee HGBEH'J" ' otier
CLEF:;~'., k '“‘!..>r, CT.
d D. C`JF f l r.~§l=.-i-F-“'l"ll$
U.S.A. vs. Jennifer Tucker

Docket No. -20434-002 Ma

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Loretta Fleming presenting an official report upon the conduct

of defendant who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting in the court at
Mernphis, TN, on the 21th day ofNovember, 2003 under the following conditions:

1. Report to Pretrial Services as directed

2. Travel restricted to the Westem District of Tennessee without prior approval of Pretrial Services
3. Ref`rain from possessing a iirearm, destructive device, or other dangerous weapon

4. Refiain from excessive use of alcohol

5. Refrain from use or unlawful possession of a narcotic drug or other controlled substance

6. Submit to any method of testing required by the Pretrial Services office

7. Participate in a program of inpatient or outpatient substance abuse testing, if deemed advisable by
Pretrial Services

RESPECTFULLY PRESEN'I'ING PETITION FOR ACTION OF COURT AND FOR CAUSE AS F()LLOWS:
(lf short insert here: if lengthy write on separate sheet and attach)

Refrain from unlawful possession or use of a narcotic drug or other controlled substance
Jennifer Tucker was referred for outpatient drug treatment at the Alcohol & Chemical Abuse Rehab Center (ACAR)
on April 23, 2004. She adjusted satisfactorily to drug treatment and completed the requirements of her action plan

on September 30, 2004. Defenda.nt Tucker tested positive for marijuana on March 16, 2005, and April 20, 2005.
These tests were confirmed by Kroll Laboratory Specialists.

The defendant shall not commit anv offense in violation of federal, state or local law while on release in this
case.

Ms. Tucker was arrested by the Memphis Police Department on February 19, 2005, for Driving While License
Sus/Refoan and Vio|ation of Vehicle Registration Law. This case is set for court June 1, 2005.

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PRAYING THAT THE COURT WILL ORDER THE ISSUANCE OF A WARRANT FOR THE DEFENDANT TO
APPEAR AND TO SHOW CAUSE AS TO WHY HER BOND SHOULD NOT BE REVOKED.

ORDER OF COURT l declare under penalty of perjury that the

foregoi is true nd correct
Considered and ordered this '
day of , 20 and ordered r_ C(_

filed and made a art of the records in the above

case U.S. Pretria] Services OH'€\
; ;: :' § § :C/’ `__ Place

Memphis, TN

U.s. Dism'cr Date May 9, 2005

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UNITED TATES DISTRIC COURT - WERNSTE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:03-CR-20434 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

